         Case 3:05-cr-00053-HES-MCR Document 450 Filed 03/14/06 Page 1 of 7 PageID 1001
A 0 245B (Rev. 12/03) Sheet 1 -Judgmentin a Criminal Case                                                                  -,.
                                                                                                                           P l h t* U
                                 UNITED STA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                    JACKSONVILLE DIVISION                                          ' - Ill 1 A &: L!8
                                                                                                             283b t=..,.i
                                                                                                                       '




UNITED STATES OF AMERICA
                                                                   CASE NO. 3:05-cr-53-J-20MCR

                                                                   USM Number: 30930-01 8
JOHN CHARLES MERRETT
                                                                   Defendant's Attorney: Daniel A. Smith, Esq. (cja)

THE DEFENDANT:

X pleaded guilty to Count One of the Indictment.
-
- pleaded nolo contendere to Count which was accepted by the court.
- was found guilty on Count after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                           Offense Ended             Count

21 U.S.C. 846,                  Conspiracy to distribute 50 grams or        February 2005             One
84 1(b)( l)(A) and              more of methamphetamine and 100
84       I)@).                  kilograms or more of marijuana.


       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984 as modified by United States v. Booker.

- The defendant has been found not guilty on Count(s)
- Count(s) (is)(are) dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic circumstances.


                                                                                     Date of Imposition of Judgment: March 2,2006




                                                                                     DATE: March      !3 ,2006
       Case 3:05-cr-00053-HES-MCR Document 450 Filed 03/14/06 Page 2 of 7 PageID 1002
A 0 24SB (Rev. 12/03) Judgment in a Criminal Case
Sheet 2 - Imprisonment

Defendant:           JOHN CHARLES MERRETT                                                                    Judgment - Page _Z of 1
Case No.:            3:05-cr-53-J-20MCR

                                                               IMPRISONMENT

                 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 92 months.




-
X The court makes the following recommendations to the Bureau of Prisons: FCI Jesup, GA, and the residential drug
      treatment program.


X The defendant is remanded to the custody of the United States Marshal.
-
-The defendant shall surrender to the United States Marshal for this district.
            -at - a.m.1p.m. on -.
            - as notified by the United States Marshal.
-The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.
            - before 2 p.m. on -.
            - as notified by the United States Marshal.
            -as notified by the Probation or Pretrial Services Office.


                                                                         RETURN

            I have executed this judgment as follows:




            Defendant delivered on                  to                                                           at
                                                              ,with a certified copy of this judgment.


                                                                                 United States Marshal


                                                                                       Deputy Marshal
          Case 3:05-cr-00053-HES-MCR Document 450 Filed 03/14/06 Page 3 of 7 PageID 1003
A 0 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 3 - Supervised Release


Defendant:           JOHN CHARLES MERRETT                                                                 Judgment - Page 3 of 7
Case No.:            3 :05-cr-53-J-20MCR

                                                       SUPERVISED RELEASE

          Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.

           The defendant shall not commit another federal, state or local crime.

         The defendant shall not unlawfidly possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic
drug tests thereafter, as determined by the Court.

-          The above drug testing condition is suspended, based on the Court's determination that the defendant poses a low risk of future
           substance abuse.

X
-          The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

X
-          The defendant shall cooperate in the collection of DNA as direction by the probation officer.

-          The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or
           is a student, as directed by the probation officer.

-          The defendant shall participate in an approved program for domestic violence.

        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

        The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
1)         the defendant shall not leave the judicial district without the permission of the Court or probation officer;

2)         the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
           of each month;

3          the defendant shall answer truthfully all inquiries by the probation officer and follow the instruction of the probation officer;

4)         the defendant shall support his or her dependents and meet other family responsibilities;

5)         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;

6)         the defendant shall notify the probation officer ten days prior to any change in residence or employment;

7)         the defendant shall refrain fromexcessive use of alcohol and shall not purchase, possess, use, distribute, or administer any narcotic
           or other controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8)         the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9)         the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
           of a felony unless granted permission to do so by the probation officer;

 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view by the probation officer;

 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;
           Case 3:05-cr-00053-HES-MCR Document 450 Filed 03/14/06 Page 4 of 7 PageID 1004
A 0 2458 (Rev. 12103) Judgment in a Criminal Case
Sheet 3 - Supenised Release CONTINUED



Defendant:              JOHN CHARLES MERRETT                                                                     Judgment - Page 4 of 2
Case No.                3:05-cr-53-J-20MCR


12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

13)         as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
            criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
            confirm the defendant's compliance with such notification requirement.
                                                    ADDITIONAL SUPERVISED RELEASE TERMS
          Case 3:05-cr-00053-HES-MCR Document 450 Filed 03/14/06 Page 5 of 7 PageID 1005
A 0 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 3A - Supervised Release



Defendant:           JOHN CHARLES MERRETT                                                                Judgment - Page 5 of 7
Case No.:            3:05-cr-53-J-20MCR


                                               SPECIAL CONDITIONS OF SUPERVISION
          The defendant shall also comply with the following special conditions of supervised release:


          The defendant shall participate in the Home Detention program for a period of -. During this time, defendant will remain at
          defendant's place of residence except for employment and other activities approved in advance by the defendant's Probation
          Officer. Defendant will be subject to the standard conditions of Home Detention adopted for use in the Middle District of Florida,
          which may include the requirement to wear an electronic monitoring device and to follow electronic monitoring procedures
          specified by the Probation Officer. Further, the defendant shall be required to contribute to the costs of services for such
          monitoring not to exceed an amount determined reasonable by the Probation Officer based on ability to pay (or availability of third
          party payment) and in conformance with the Probation Office's Sliding Scale for Electronic Monitoring Services.

           The defendant shall participate as directed in an in-patient or out-patient program approved by the Probation Officer for treatment
           ofnarcotic addiction or drug or alcohol dependency which will include testing for the detection of substance use or abuse. Further,
           the defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount determined
           reasonable by the Probation Officer based on ability to pay or availability of third party payment and in conformance with the
           Probation Office's Sliding Scale for Substance Abuse Treatment Services.

           The defendant shall participate as directed in a program of mental health treatment approved by the Probation Officer. Further,
           the defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount determined
           reasonable to by Probation Officer based on ability to pay or availability of third party payment and in conformance with the
           Probation Office's Sliding Scale for Mental Health Treatment Services.

           If deported by the Bureau of Immigration and Customs Enforcement (BICE), the Defendant shall not re-enter the United States
           unless allowed to do so legally.

           Defendant shall provide the Probation Officer access to any requested financial information.

           Defendant shall be prohibited from incurring new credit charges, opening additional lines of credit, or obligating for any major
           purchases without approval of the Probation Officer.

           Defendant shall perform - hours of community service as directed by the Probation Officer.

           Defendant shall submit to a search of hislher person, residence, place of business, any storage units under his control, or vehicle
           conducted by the Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
           contraband or evidence of a violation of a condition of release; failure to submit to a search may be grounds for revocation;
           defendant shall inform any other residents that the premises may be subject to a search pursuant to this condition.
         Case 3:05-cr-00053-HES-MCR Document 450 Filed 03/14/06 Page 6 of 7 PageID 1006
A 0 245B (Rev. 12/03)Judgment in a Criminal Case
Sheet 5 - Criminal Monetary Penalties


Defendant:            JOHN CHARLES MERRETT                                                              Judgment - Page 6of 7
                                                                                                                            --
Case No.:             3:05-cr-53-J-20MCR
                                                   CRIMINAL MONETARY PENALTIES
           The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                 Assessment                       -
                                                                  Fine                        Restitution

TOTALS                           $100.00

-          The determination of restitution is deferred until . An Amended Judgment in a Criminal Case ( A 0 24%) will
           be entered after such determinat~on.
       The defendant must make restitution (including community restitution) to the following payees in the amount
listed below.
       If the defendant makes a partial pa ent, each                        shall receive an a proximately proportioned a
unle~sspecified otherwise in the pnonty or er or percen
Sectlon 3664(I), all nonfederal victims must be pald
                                                           r"                                    P
                                                                           aymqnt column be ow. However, pursuant to f8 i;"s"."d:
                                                                           e United States is paid.

Name of Pavee                                Total Loss*          Restitution Ordered                   Prioritv or Percentage




-          Restitution amount ordered pursuant to plea agreement: $

-          The defendant must pa interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
                                        d'
           the 15th day after the ate of the judgment, pursuant to 18 U.S.C. Section 3612(f). All of the payment options on Sheet 6 may
           be subject to penalties for delinquency and default, pursuant to 18 U.S.C. Section 3612(g).

-          The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           - the interest requirement is waived for the - fine - restitution.
           - the interest requirement for the - fine - restitution is modified as follows:




 *Findings for the total amount of losses are re uired under Chapters 109A, 110, 11OA, and 113A of Title 18 for offenses committed on
                                                      9
 or after September 13, 1994, but before April 3, 1996.
        Case 3:05-cr-00053-HES-MCR Document 450 Filed 03/14/06 Page 7 of 7 PageID 1007
A 0 245B (Rev. 12/03) Judgment in a Criminal Case
Sheet 6 - Schedule of Payments



Defendant:              JOHN CHARLES MERRETT                                                      Judgment - Page 7of 7
Case No.:               3:05-cr-53-J-20MCR


                                                     SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
            -
            X           Lump sum payment of $100.00 due immediately, balance due
                        -          not later than , or
                        -          in accordance - C,    - D, - E, or - F below, or
            -           Payment to begin immediately (may be combined with - C, - D, or             - F below); or
            -           Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a eriod of
                                                                                                      R
                        (e.g., months or years), to commence (e.g., 30 or 60 days) after the date o f t is judgment; or
            -           Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
                         (e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a
                        term of supervision; or
            -           Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release
                        from imprisonment. The Court will set the payment plan based on an assessment of the defendant's ability
                        to pay at that time; or
            -           Special instructions regarding the payment of criminal monetary penalties:
                        The defendant is ordered to begin making payments of per month and this payment schedule shall continue
                        until such time as the court is notified by the defendant, the victim or the government that there has been
                        a material change in the defendant's ability to pay.



Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during ~mprisonment.All criminal monetarypenalties, exce t those pa ents made through the Federal
                                                                                      1
h r e a u of Prisons' Inmate Financial Responsibility Program, are made to t e clerk o the court.r"
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-           Joint and Several
            Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
            Several Amount, and corresponding payee, if appropriate.

-           The defendant shall pay the cost of prosecution.
-           The defendant shall pay the following court cost(s):
-
X           The defendant shall forfeit the defendant's interest in the following property to the United States:
            The real property located at 2059 Farley Burnsed Road, St. George, GA.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost ofprosecution and
court costs.
